                  Case 23-11069-CTG             Doc 1330        Filed 12/11/23        Page 1 of 12




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


                                                                )
    In re:                                                      )       Chapter 11
                                                                )
    YELLOW CORPORATION, et al.,1                                )       Case No. 23-11069 (CTG)
                                                                )
                              Debtors.                          )       (Jointly Administered)
                                                                )
                                                                )

       SUPPLEMENTAL DECLARATION OF CODY LEUNG KALDENBERG
               IN SUPPORT OF ENTRY OF ORDER (I) APPROVING
     CERTAIN ASSET PURCHASE AGREEMENTS; (II) AUTHORIZING AND
 APPROVING SALES OF CERTAIN REAL PROPERTY ASSETS OF THE DEBTORS
 FREE AND CLEAR OF LIENS, CLAIMS, INTERESTS, AND ENCUMBRANCES, IN
EACH CASE PURSUANT TO THE APPLICABLE ASSET PURCHASE AGREEMENT;
     (III) APPROVING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN
    EXECUTORY CONTRACTS AND UNEXPIRED LEASES IN CONNECTION
THEREWITH, IN EACH CASE AS APPLICABLE PURSUANT TO THE APPLICABLE
   ASSET PURCHASE AGREEMENT; AND (IV) GRANTING RELATED RELIEF

             I, Cody Leung Kaldenberg, hereby declare under penalty of perjury as follows:

             1.     On December 8, 2023, I submitted the Declaration of Cody Leung Kaldenberg in

Support of Entry of Order (I) Approving Certain Asset Purchase Agreements; (II) Authorizing and

Approving Sales of Certain Real Property Assets of the Debtors Free and Clear of Liens, Claims,

Interests, and Encumbrances, in Each Case Pursuant to the Applicable Asset Purchase

Agreement; (III) Approving the Assumption and Assignment of Certain Executory Contracts and

Unexpired Leases in Connection Therewith, in Each Case as Applicable Pursuant to the




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
               Case 23-11069-CTG              Doc 1330        Filed 12/11/23        Page 2 of 12




Applicable Asset Purchase Agreement; and (IV) Granting Related Relief [Docket No. 1303] (the

“Original Declaration”).

         2.       I hereby submit this supplement to the Original Declaration (this “Supplemental

Declaration”) to provide additional detail relating to the Real Estate Auction for the Initial

Properties and certain related matters.2 The entirety of the Original Declaration, including, without

limitation, the description of my professional background, is incorporated herein by reference as

if fully set forth herein. If called as a witness, I could and would testify competently to the facts

set forth in this Supplemental Declaration (and the Original Declaration). I am not being

specifically compensated for this testimony other than through payments received by Ducera as a

professional retained by the Debtors, subject to approval by this Court. I am over the age of 18

years and authorized to submit this Supplemental Declaration on behalf of the Debtors.

           The Auction Procedures for Bidding on the Initial Properties Were Designed In
    Consultation with the Consultation Parties to Maximize Value, and Did Maximize Value

         3.       The Real Estate Auction for the Initial Properties (i.e., one hundred and twenty

eight (128) Owned Properties and two (2) Leased Properties) commenced on November 28, 2023,

at 9:00 a.m. E.T. In accordance with the Bidding Procedures Order, the Debtors, in close

consultation with the Consultation Parties—including the Committee—designed the procedures

governing bidding for the Initial Properties (the “Auction Procedures”) to create a format that the

Debtors and the Consultation Parties agreed would best maximize estate value.

         4.       The goal of the Auction Procedures was to prevent and mitigate any collusion while

maximizing the value of the Debtors’ real estate portfolio.                    As discussed in the Original

Declaration, the Debtors received over seventy (70) bids for Real Property Assets as of the Bid


2
     Capitalized terms used but not defined in this Supplemental Declaration shall have the meanings ascribed to
     such terms in the Original Declaration.



                                                         2
              Case 23-11069-CTG          Doc 1330     Filed 12/11/23     Page 3 of 12




Deadline for the Real Property Assets. The majority of bids (i.e., as submitted by over seventy

percent (70%) of Qualified Bidders for the Real Property Assets) were to acquire five or fewer

properties.   The Debtors decided to design an auction process, in consultation with the

Consultation Parties, where there would be competitive bidding for each individual Initial Property

and where all Qualified Bidders would be able to bid on and compete for each such property for

which they expressed bidding interest.

       5.      Accordingly, the Debtors, with the support of and in consultation with the

Consultation Parties, proceeded with bidding for the Initial Properties on a property-by-property

basis. As further described below, the Debtors, in consultation with the Consultation Parties,

(a) determined which bidders were Qualified Bidders with respect to each individual property,

(b) conducted individual auctions for each Initial Property (i.e., property-by-property bidding over

the course of four competitive days of bidding), and (c) selected the Winning Bidder for each

individual property on the sole basis that such Qualified Bidder presented the highest bid for such

property relative to the other Qualified Bidders for that particular property.

       6.      Appraisal values prior to the Petition Date of the Debtors’ entire owned real estate

portfolio totaled nearly $1.1 billion. Further, as discussed in the Original Declaration, the Stalking

Horse Bid of Estes Express Lines, approved by this Court in September, totaled $1.525 billion for

all of the Debtors’ Owned Properties. The Winning Bids for just the Initial Properties (i.e.,

approximately 75% of the Owned Properties and two of the Leased Properties) total just under

$1.9 billion. The Winning Bids for the Initial Properties represent an approximately forty percent

(40%) improvement relative to the “starting” bids for the Initial Properties, which totaled

approximately $1.35 billion. There is no question that the Auction Procedures fostered four days

of competitive property-by-property bidding for the Initial Properties and maximized their value.




                                                  3
             Case 23-11069-CTG           Doc 1330      Filed 12/11/23      Page 4 of 12




       7.      The Bidding Procedures Order provides that the Debtors, in consultation with the

Consultation Parties, may modify and implement additional Auction Procedures to promote the

goals of the Bidding Procedures and maximize value. Accordingly, the Debtors, in consultation

and with the support of the Consultation Parties, implemented the below process for bidding on

the Initial Properties. To the extent any aspect of the below protocol was not already set forth in

the Bidding Procedures, the Debtors consulted with and received the support of the Consultation

Parties before implementing the same, and clearly communicated the same to all Qualified Bidders

in advance of bidding.

       8.      Specifically, the Auction Procedures included the following aspects:

                (a)      Open Access to All Qualified Bidders. As described in the Original
Declaration, Ducera canvassed hundreds of potentially interested parties, including the Debtors’
industry competitors and real estate investors, in the approximately three months preceding the
commencement of the Real Estate Auction. In accordance with the Bidding Procedures Order,
any Potential Bidder was able to become an Acceptable Bidder (and, ultimately, upon satisfying
the criteria applicable to all Acceptable Bidders as set forth in the Bidding Procedures, a Qualified
Bidder) for any Initial Property for which such bidder expressed bidding interest. In addition to
our outreach, these are highly public chapter 11 cases that are being actively covered by the
financial and restructuring press, and the fact that the Debtors’ entire real estate portfolio was being
auctioned to the highest bidder was not anywhere close to a secret. Indeed, interest in the Initial
Properties was robust, and each and every Qualified Bidder was invited to attend the Real Estate
Auction and bid. Accordingly, bidding on the Initial Properties included a broad composition of
Qualified Bidders, ranging from Fortune 50 companies and major global investment managers to
individual bidders seeking to acquire a single Initial Property.

                 (b)     Anonymized Email Bidding. The Debtors, in their business judgment and
in close consultation with the Consultation Parties, determined that bidding on the Initial Properties
would proceed anonymously and over email. We implemented this format both to eliminate the
possibility of any collusion or communications among bidders whatsoever and to facilitate bidding
by making it easy to bid. Based upon my discussions with the Debtors’ senior management team
as well as with bidders, I understand that the senior officers of the Debtors’ industry competitors
(i.e., the approximately one-to-two dozen leading less-than-truckload (LTL) carriers in the United
States) know each other both professionally and personally. The Debtors took seriously the risk—
however remote—of any “side bar” discussions occurring among bidders which might have had
the effect of altering bidding outcomes. Thus, the Debtors, in consultation and with the support of
the Consultation Parties, determined that the Real Estate Auction for the Initial Properties would
be conducted by email and anonymously, with Qualified Bidders learning neither the identities nor
the number of competing Qualified Bidders.



                                                   4
             Case 23-11069-CTG         Doc 1330      Filed 12/11/23      Page 5 of 12




               (c)     Property-by-Property Bidding. Each Initial Property was auctioned,
property-by-property, to the applicable group of Qualified Bidders over the course of four
competitive days of bidding. Between twenty-eight (28) and thirty-seven (37) Initial Properties
were auctioned each day, with bidding for each day’s group of Initial Properties both beginning
and ending on the same day of bidding. As set forth in the Bidding Procedures, and based upon
bidding activity and interest with respect to each individual Initial Property, the Debtors conducted
successive Incremental Rounds, “Knock-Out” Rounds, and Best and Final Offer Rounds before
arriving, in each case, at the applicable Winning Bid. Bidding instructions were prepared in
consultation with the Consultation Parties and communicated in advance of bidding to all
applicable Qualified Bidders.

                        (i)    Bidding Process and Communications. For bidding on each
Initial Property, and applicable to each round thereof:

                               (1)     first, all applicable Qualified Bidders received from the
                       Debtors a personalized spreadsheet containing (a) the property(ies) for
                       which they were qualified to bid, (b) the current highest bid for such
                       property(ies), (c) the minimum overbid requirements for such property(ies),
                       and (d) requirements for submitting bids. Each such spreadsheet included
                       language stating, and in submitting its bid each bidder attested, that in
                       preparing and submitting its bid the bidder had proceeded in good faith and
                       without collusion or communication with any other bidder of any type or
                       kind whatsoever. Each spreadsheet was accompanied by a cover email from
                       the Debtors to the applicable Qualified Bidder restating the procedures as
                       well as stating the submission deadline for bids.

                               (2)     second, upon receipt of completed and executed
                       spreadsheets, and at each round of bidding, the Debtors and the Consultation
                       Parties reviewed the submissions received and determined the bids qualified
                       to proceed into the next round of bidding based on the specific qualification
                       requirements of that round which were communicated to bidders in advance
                       of each round. This process continued until the Debtors, in consultation
                       with the Consultation Parties, determined a Winning Bidder with respect to
                       each Initial Property, with Qualified Bidders notified at the end of each day
                       of bidding the Initial Property(ies) they had won or not won.

                       (ii)   Types of Rounds. In their discretion and in consultation with the
Consultation Parties, the Debtors employed three types of bidding “rounds”: Incremental Rounds,
Knock-Out Rounds, and Best & Final Rounds, each as described below. The type of round was
communicated to each applicable Qualified Bidder in advance of the start of bidding on that round.

                                (1)    Incremental Rounds. In an Incremental Round, bids were
                       required to match or exceed the “Minimum Bid” communicated in advance
                       to all applicable Qualified Bidders as part of their personalized spreadsheet.
                       All bidders matching or exceeding the applicable Minimum Bid advanced
                       to the next round of bidding.



                                                 5
            Case 23-11069-CTG          Doc 1330      Filed 12/11/23     Page 6 of 12




                              (2)      Knock-Out Rounds. In a Knock-Out Round, the lowest
                       bidder in that round (provided that three or more active bidders remained
                       bidding on the applicable property) was eliminated from the subsequent
                       round of bidding.

                              (3)    Best & Final Rounds. In a Best & Final Round, all
                       remaining Qualified Bidders were invited to submit a final bid for the
                       applicable property, with the highest bid in such round provisionally
                       declared the Winning Bidder for that property.

                       (iii)  Package Bid. My discussion in the Original Declaration of the
Package Bid (defined below) is incorporated herein by reference. Each Initial Property, including
those contained within the Package Bid, was auctioned on a property-by-property basis to all
applicable Qualified Bidders. XPO was invited to participate in, and did participate in, the
individual auctions for such properties upon its initial Package Bid being outbid by the aggregate
of the otherwise highest bidders for each such property, which forced it to increase its Package Bid
materially. Ultimately, in consultation with the Consultation Parties, the Debtors determined in
their business judgment that the Package Bid—which (a) increased substantially over the course
of the bidding process as a result of the competitive property-by-property bidding by other
Qualified Bidders and (b) presents considerable more value to the estates relative to the aggregate
of the Non-Package Bids for the Package Properties (each defined below)—represented the highest
(and considerably more) value to the estates for the Package Properties relative to the aggregate of
the highest Non-Package Bids for such properties.

                (d)     Extensive Consultation with Consultation Parties. The Debtors and their
advisors consulted closely with the Consultation Parties with respect to devising and implementing
the Bidding Procedures and the Auction Procedures. Not one aspect of the Bidding Procedures or
the Auction Procedures lacked or lacks the support of the Consultation Parties, which were each
afforded an active role in developing the Auction Procedures and were invited to the offices of
Kirkland & Ellis LLP, the Debtors’ lead restructuring counsel, to consult real-time during the
course of the Real Estate Auction. Indeed, representatives of the Committee, among other
Consultation Parties, did attend (in-person at Kirkland’s offices) and consult in real-time and
round-by-round regarding the bidding process during the entire week of bidding on the Initial
Properties, all with a goal of maximizing value for stakeholders.

               (e)     Communications with Qualified Bidders. All Auction Procedures and
other bidding instructions and rules were communicated in advance of bidding to all applicable
Qualified Bidders and in consultation with the Consultation Parties.

                        (i)     Initial Communications. On November 21, 2023 (one week prior
               to commencement of the Real Estate Auction for the Initial Properties), Ducera
               distributed a document to all Qualified Bidders for the Initial Properties (attached
               hereto as Exhibit A) which provided an overview of the Auction Procedures,
               including: (i) a description of the anonymized email bidding process;
               (ii) instructions for participation; (iii) the basis on which Winning Bids would be
               determined by the Debtors; (iv) a description of the types of bidding rounds that
               would be utilized during bidding; and (v) a timeline for further communications


                                                 6
              Case 23-11069-CTG            Doc 1330        Filed 12/11/23       Page 7 of 12




                and instructions, including when “opening bids” for each Initial Property would be
                distributed to applicable Qualified Bidders. Attached to this document was a
                “Designated Auction Representative Form” pursuant to which bidders were
                required to identify representatives duly authorized to both send and receive bid
                information during the Real Estate Auction. Qualified Bidders were required to
                complete and sign the Designated Auction Representative Form prior to being able
                to bid in the Real Estate Auction.

                        (ii)   Pre-Bidding Communications. Each day in advance of bidding on
                the Initial Properties—beginning November 27, 2023 and continuing each day
                through November 30, 2023—Ducera distributed to each applicable Qualified
                Bidder by email (i) the “opening bids” for each Initial Property to be auctioned the
                following day and (ii) further instructions for the following day of bidding.3

                          (iii)  Live Communications. During the Real Estate Auction for the
                Initial Properties, Ducera provided each applicable Qualified Bidder with a
                personalized spreadsheet and email prior to the commencement of each round of
                bidding, (i) restating the procedures for the subsequent round of bidding and
                (ii) setting forth the specific bid requirements for each applicable Initial Property
                being auctioned in such round.

                (f)     Live Record Maintained of All Bidding.              Notwithstanding the
anonymized, email format of the Real Estate Auction for the Initial Properties and the lack of a
traditional “transcriber,” the Debtors, in accordance with the Bidding Procedures, maintained a
full record real-time during the bidding process. All communications to and from Qualified
Bidders, including bidding instructions and bids received, were recorded in the form of the emails
sent and received by and among the Debtors and the applicable participating Qualified Bidders.
Thus, the Debtors kept, and there is, a robust record of the Real Estate Auction for the Initial
Properties.

        9.      In my opinion and based upon my professional experience, the Auction Procedures

were fair to all bidders, were developed and implemented in close consultation with the

Consultation     Parties,    and    were     designed      to   maximize—and          did    maximize—the

property-by-property values of the Initial Properties.




3
    A sample of such communication (with the Objecting Landlord (defined below)) is shown at Exhibit B.



                                                      7
             Case 23-11069-CTG         Doc 1330      Filed 12/11/23    Page 8 of 12




          1313 Grand Street Realty, LLC Failed to Submit the Highest or Best Bid for the
                       1313 Grand Street, Brooklyn, NY Leased Property

       10.     As described above, the Auction Procedures abided fully with the Bidding

Procedures Order and were fair to all Qualified Bidders, including the one party objecting to the

Debtors’ proposed Sale Order: 1313 Grand Street Realty, LLC (the “Objecting Landlord”), which

filed that certain objection to the Sale Order at Docket No. 1304 (the “Objection”). The Objecting

Landlord is the lessor of the Debtors’ Leased Property at 1313 Grand Street, Brooklyn, New York

11211 (the “Lease”).

       11.     The Objecting Landlord asserts that it submitted the “highest and best bid for the

Lease.” See Objection, ¶19. That is not correct. The Debtors, in their business judgment and in

consultation with the Consultation Parties, determined that XPO was the Winning Bidder of the

Lease—one of the twenty-eight (28) Initial Properties won by XPO pursuant to its $870 million

package bid (the “Package Bid”)—because the Package Bid presented the highest and best offer

for the Lease. In fact, XPO separately bid $7.5 million for the Lease, and the Objecting Landlord

was offered the opportunity to top that bid but declined to do so.

       12.     More specifically, despite the fact that it initially bid only $100, the Objecting

Landlord was invited to participate in the Real Estate Auction and bid further on the Lease.

See Exhibits B and C. The Objecting Landlord did, in fact, bid for the Lease. Id. However, not

one time did the Objecting Landlord raise to me or any member of my team any of the issues raised

by it in its Objection, including alleged concerns about Auction Procedures, bidding instructions,

or communications. Further, like all other Qualified Bidders bidding for the properties contained

within the Package Bid (collectively, the “Package Properties”), the Objecting Landlord was

notified by my team in writing, in advance of each round of bidding for the Lease, that a certain




                                                 8
             Case 23-11069-CTG         Doc 1330     Filed 12/11/23     Page 9 of 12




package bidder stood to win all of the Package Properties if the aggregate of the otherwise highest

bids for each individual Package Property failed to exceed the Package Bid. Id.

       13.     Specifically, Qualified Bidders for the Package Properties, including the Lease,

were notified in writing, in advance of each round of bidding for each Package Property, that

bidding on each Package Property would proceed on a property-by-property basis until the

aggregate of the highest bids for the Package Properties submitted by Qualified Bidders not the

package bidder (collectively, the “Non-Package Bids”) exceeded the Package Bid. Indeed, in the

opening round of bidding for the Package Properties, the Non-Package Bids aggregated to a value

significantly below the then-submitted Package Bid. Subsequently, in advance of each successive

round of bidding for Package Properties, each applicable Qualified Bidder, including the Objecting

Landlord, was provided guidance as to how far the Non-Package Bids were from matching the

Package Bid to provide them with a means of benchmarking for the preparation of their bids for

the Package Properties.

       14.     Once the aggregate value of the Non-Package Bids met the value of the Package

Bid, the Debtors required XPO to bid on a property-by-property basis and/or increase its Package

Bid in order to attempt to outbid the Non-Package Bids for the Package Properties. In response,

XPO increased its bid on certain individual properties, including the Lease, as well as increased

its Package Bid. My team informed the Objecting Landlord in writing that a bid for $7.5 million

(which was XPO’s bid, although no other bidder was provided the identity of the highest bidder)

was the current highest bid for the Lease and invited the Objecting Landlord to submit a “best and

final” offer for the Lease as part of a “Best & Final Round” for the Lease. See Exhibit B. Further,

the Objecting Landlord was invited to submit a new bid as part of the prior “Incremental Round,”

and in response, the Objecting Landlord communicated to Ducera that it had “determined not to




                                                9
             Case 23-11069-CTG         Doc 1330      Filed 12/11/23     Page 10 of 12




submit any further bids.” See Exhibit B. Still, as mentioned above and despite this feedback, the

Objecting Landlord was provided an opportunity to submit a “best and final bid” in spite of its

failure to submit a bid at all as part of the prior Incremental Round for the Lease. The Objecting

Landlord, required to outbid $7.5 million for the Lease, did not bid further. See Exhibits B and

C. Thus, the Objecting Landlord did not win the Lease and the assertion in its Objection that it

submitted the highest and best bid for the Lease is simply incorrect.

       15.     In my opinion, based upon my professional judgment and review of all bids

submitted for the Lease, the Package Bid provides the highest value to the estates for the sale of

the Lease and was submitted by XPO in good faith. The Auction Procedures, including with

respect to bidding on the Package Properties, were fair to all Qualified Bidders and devised and

implemented with the full support of the Consultation Parties. Thus, the Debtors’ sale of the Lease

to XPO as part of the Package Bid is in the best interests of the estates and should be authorized

pursuant to the proposed Sale Order.

         XPO Has Provided Adequate Assurance of Future Performance Under the Lease

       16.     The Objecting Landlord calls into question XPO’s ability to adequately perform

under the Lease. See Objection, Sec. B. XPO is a publicly-traded Fortune 500 company with a

market capitalization of over $9.5 billion and last twelve months’ revenue of over $7.6 billion.

The annual rent under the Lease is approximately $1.1 million. Shortly after the Debtors filed the

Notice of Winning Bidders, the Debtors sent the Objecting Landlord XPO’s adequate assurance

package, including XPO’s audited balance sheet, and upon the Objecting Landlord filing its

Objection—the first time the Debtors and their advisors learned of any such issues—the Debtors

put the Objecting Landlord and representatives of XPO immediately in contact to discuss resolving

the same. Further, as reflected in the proposed Sale Order, the Debtors have agreed to escrow in




                                                10
             Case 23-11069-CTG        Doc 1330      Filed 12/11/23    Page 11 of 12




full any disputed Cure Costs under the Lease pending resolution between the Debtors and the

Objecting Landlord or further order of the Court. We do not believe there are legitimate grounds

for concern over XPO’s ability to adequately perform under the Lease, as it is a well-capitalized

entity that is clearly capable of doing so. Accordingly, I believe that the Court should enter the

proposed Sale Order authorizing, among other things, the proposed assignment of the Lease to

XPO.

                                              Conclusion

       17.     Accordingly, based upon the foregoing, my Original Declaration, and my

professional experience and judgment, and with the support of the Consultation Parties,

I respectfully submit that the Court should approve the proposed Sale Order.




                                               11
            Case 23-11069-CTG         Doc 1330     Filed 12/11/23     Page 12 of 12




       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.



 Dated: December 11, 2023                         /s/ Cody Leung Kaldenberg

                                                  Cody Leung Kaldenberg
                                                  Partner
                                                  Ducera Partners, LLC

                                                  Investment Banker to the Debtors
